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 NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




  ANGELO LOCONSOLE,
                Plaintiff                                         Civil Action No. 17-8362
                                                                          OPINION
         V.



  WELLS FARGO MORTGAGE d/bla
  AMERICA’S SERVICING COMPANY,

                Defendants.




 John Michael Vazguez, U.S.D.J.


        Currently pending before the Court is Defendant Wells Fargo Home Mortgage’s (“Wells

 Fargo” or “Defendant”) motion to dismiss the Complaint pursuant to Federal Rule of Civil

 Procedure 12(b)(6). D.E. 7. Plaintiff Angelo Loconsole submitted a brief in opposition, D.E. 8,

 to which Defendant replied. D.E.   91
                                         The Court reviewed all submissions and considered the

motion without oral argument pursuant to federal Rule of Civil Procedure 78 and Local Civil Rule

 78.1. for the reasons stated below, Defendant’s motion is GRANTED.




 In this Opinion, Defendant’s motion to dismiss (D.E. 7) will be referred to as “Def. Brf.”
Plaintiffs bnef in opposition (D.E. 8) will be referred to as “P1. Opp.” Defendant’s reply brief
(D.E. 9) will be referred to as “Def. Rep.”
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     I.      FACTUAL AND PROCEDURAL HISTORY

          The following facts are derived from Plaintiffs Complaint as well as the accompanying

 exhibits and the exhibits attached to Defendant’s motion to dismiss.2

             Plaintiff is a New Jersey resident and owns the residential property located at 25 Burgundy

 Court, Livingston, New Jersey (“25 Burgundy Court”). Complaint (“Cornpl.”) ¶ 1. Defendant is

 a division of Wells Fargo Bank. Id.      ¶ 2. Defendant services Plaintiffs mortgage on 25 Burgundy
 Court on behalf of U.S. Bank National Association (“U.S.B.N.A.”), as Trustee for Credit Suisse

 First Boston Mortgage Securities Corporation (“U.S.B.N.A.”). Id.        ¶ 3.
             By way of background,3 Defendant indicates that on March 16, 2005, Plaintiff entered into

 a $620,000 note with NJ Lenders Corporation and a mortgage with Mortgage Electronic

 Registration Systems, Inc., secured on 25 Burgundy Court. Def Brf., Certification of Aaron M.

 Bender, Ex. A (“Bender Cert.”); D.E. 7-3. The mortgage was recorded on March 29, 2005, in the

 Essex County Clerk’s Office. Id. In 2009, the mortgage was assigned to U.S.B.N.A. Id. Although

 Plaintiff applied for and received a loan modification in January 2009, Plaintiffs loan went into

 default on October 1, 2013. Id.



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   Plaintiff filed his Complaint on October 16, 2017. D.E. 1. Two days later, he filed the exhibits.
 D.E. 3. The specific factual allegations in the Complaint are, at times, unclear. However, a
 somewhat more complete picture is made possible when considering the Complaint in
 conjunction with the submitted exhibits. When reviewing a motion to dismiss, the Court accepts
 as true all well-pleaded facts in the complaint. fowler v. UPMC Shadyside, 578 F.3d 203, 210
 (3d Cir. 2009). Additionally, a district court may consider “exhibits attached to the complaint
 and matters of public record” as well as “an undisputedly authentic document that a defendant
 attaches as an exhibit to a motion to dismiss if the plaintiffs claims are based on the document.”
 Pension Ben. Guar. Corp. i’. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993). In
 this matter, Defendant attaches the documents from the underlying state foreclosure action.
 Plaintiff does not contest the accuracy of the documents.

  To the extent that Defendants cite to additional factual information that is not supported by the
 documents referenced in note I, supra, the Court notes the information for purposes of
 background only and does not consider it in resolving the motion.
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        On March 10, 2014, U.S.B.N.A. filed a foreclosure action on 25 Burgundy Court in the

 Superior Court of New Jersey. Id. On July 29, 2015, the New Jersey court entered final judgment

 in the foreclosure action against Plaintiff Bender Cert. Ex. B; D.E. 7-4. The final order provided

 that 25 Burgundy Court be sold and that U.S.B.N.A. was entitled to $377,830.34 with interest. Id.

        On August 12, 2016, Plaintiff filed a loan and loss mitigation application (the

 “Application”) seeking mortgage relief with Defendant. Compi. ¶ 19, D.E. 1; Ex. A (Application),

 D.E. 3. Following submission of the Application, Defendant requested additional documents from

 Plaintiff on multiple occasions, which Plaintiff timely provided. Compl. ¶ 20. One such document

was a revised Profit and Loss Statement, which included information regarding rent payments and

mortgage liens on Plaintiffs commercial property. Id.     ¶ 22.
        On March 2, 2017, Defendant informed Plaintiffs counsel that the Application had been

 denied in a letter dated february 24, 2017 (“February Letter”). Id.   ¶ 26; Ex. B, D.E. 3. Plaintiffs
request for a loan modification had been denied because his monthly income was insufficient.

 Specifically, the February Letter provided that Defendant considered Plaintiffs mortgage for the

“Proprietary Step Rate Program.” Ex. B (February Letter), D.E. 3. However, the letter went on

to explain that Plaintiff did not meet the requirements for this program. It stated “[b]ased on the

documentation you provided, we are unable to create an affordable mortgage payment that still

meets the requirements of the program. We reached this decision by reviewing your monthly gross

income, which is calculated as $6,874, along with reviewing the other information you provided.”



  Defendant attaches records of the state court foreclosure proceeding to its motion to dismiss.
The Court may take judicial notice of such proceedings at this stage. S. Cross Overseas
Agencies, Inc. v. Wah Kwong Shipping Grp. Ltd., 181 f.3d 410, 426 (3d Cir. 1999)
(“Specifically, on a motion to dismiss, we may take judicial notice of another court’s opinion—
not for the truth of the facts recited therein, but for the existence of the opinion, which is not
subject to reasonable dispute over its authenticity.”)


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Id.   Finally, the February Letter provided that it considered Plaintiffs Application for other

modification options, and that he was eligible for a short sale and deed in lieu of foreclose. It also

 informed Plaintiff of his right to appeal Defendant’s decision within twenty calendar days. Id.

        Plaintiff then appealed on March 15, 2017 (“Application Appeal”). Compl.           ¶ 29;   Ex. C,

 D.E. 3. Plaintiff believed that the denial was in error because he listed his income as $10,511, not

 $6,874, on his Application,. Compi.     ¶ 28,   Ex. A. Defendant nevertheless denied the appeal in a

 letter dated March 22, 2017. Id.   ¶J 30-31; Ex. D (Appeal Denial), D.E. 3.   Defendant’s letter stated

 “[a]fter carefully reviewing the information we currently have, we have determined that you still

 do not meet the requirements for a loan modification.” Ex. D (Appeal Denial). The letter did not

 contain further explanation. Id.

        Following the denial of Plaintiffs appeal, Plaintiffs counsel sent multiple Notices of Error

 (“NOE”) to Defendant. On April 18, 2017, the first NOE informed Defendant that it had (1)

 incorrectly calculated Plaintiffs gross income; (2) failed to include all of the verified contributions

 to Plaintiffs household; (3) failed to provide an analysis in its denial of the Application; (4) failed

 to consider Plaintiff for other loan modification options; and (5) failed to address the merits of

 Plaintiffs appeal. Compl.    ¶ 32,   Ex. E, D.E. 3. Defendant responded to the first NOF in a May

 18, 2017 letter. Compl.   ¶ 33,    Ex. F, D.E. 3. In that letter, Defendant explained its method for

 calculating Plaintiffs monthly gross income:

                We can confirm we reviewed the account for payment assistance
                options on February 24, 2017. We reviewed the account for the
                Proprietary Step Rate Program. We were unable to approve the
                account for assistance because we were unable to create an
                affordable mortgage payment that still meets the requirements of the
                program. We calculated the monthly gross income at $6,874.

                We calculated the total monthly contribution income for Nicola
                Loconsole at $1,500, total monthly contribution income for Albina
                Loconsole at $2,500, and total monthly income for Angelo


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                Loconsole at $2,874. We calculated Angelo’s income using the
                2015 Schedule C Income because the profit & loss could not be
                validated. We calculated the taxable gross receipts of $375,364
                minus the cost of goods sold of $156,941 and minus total expenses
                of $183,935. We calculated the total net profit as $34,488. We
                divided the total net profit by 12 totaling $2,874 for the monthly
                gross income.

                We can confirm the account was not reviewed for a Repayment Plan
                (RPP) because of the account delinquency. Due to the account
                status a short term option would not be offered in the account
                because short term plans would increase the payment amount.

                We can confirm we received the appeal request documentation on
                March 15, 2017. During our appeal review we determined the
                account still did not meet the requirements for loan modification.
                We confirmed we were unable to validate the income in the profit
                & loss. I have enclosed copies of these letters for your records.
Id.

        On June 29, 2017, Plaintiffs counsel sent Defendant a second NOE, which largely restated

 the concerns raised in the first NOE. Compl.    ¶ 35,   Ex. G, D.E. 3. Plaintiffs second NOE did,

 however, provide a more detailed breakdown of Plaintiffs income, broadly calculated in a profit

 and loss statement. Id. On July 19, 2017, Defendant replied, again, via letter to Plaintiffs second

 NOE. Compl. ¶ 38, Ex. H D.E. 3. That letter provided that since Defendant had already reviewed
                           ,




 Plaintiffs account in the past, it would not review the loan for modification again, further, the

 letter stated that the account was “more than 3 years past due.” Id.

        finally, on August 9, 2017, Plaintiffs counsel sent Defendant a third NOE, which largely

 restated the concerns raised in the first and second NOEs. Compl.      ¶ 39; Ex.   I, D.E. 3. Defendant

 replied via letter on August 21, 2017, again indicating that it would not further review the loan

 modification. Compl. ¶40; Ex. I, D.E. 3.

        On October 16, 2017, Plaintiff filed a Complaint. D.E. 1. The Complaint sets forth three

 counts: a violation 12 C.F.R.    §   1024.41(b), namely “Regulation X” under the Real Estate



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 Settlement Procedures Act (RESPA); (2) a violation of the New Jersey Consumer Fraud Act

 (“NJCFA”); and (3) a breach of the duty of good faith and fair dealing. Compi. ¶ 16. The current

 motion is now pending before this Court.

  II.   LEGAL STANDARD

        Rule 12(b)(6) of the Federal Rules of Civil Procedure permits a defendant to move to

 dismiss a count for “failure to state a claim upon which relief can be granted[.]” To withstand a

 motion to dismiss under 12(b)(6), a plaintiff must allege “enough facts to state a claim to relief

 that is plausible on its face.” Bell Ad. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint

 is plausible on its face when there is enough factual content “that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009). Although the plausibility standard “does not impose a probability

 requirement, it does require a pleading to show more than a sheer possibility that a defendant has

 acted lawfully.” Connelly v. Lane Const. Corp., $09 F.3d 780, 786 (3d. Cir. 2016) (internal

 quotation marks and citations omitted). As a result, a plaintiff must “allege sufficient facts to raise

 a reasonable expectation that discovery will uncover proof of [his] claims.” Id. at 789.

        In evaluating the sufficiency of a complaint, a district court must accept all factual

 allegations in the complaint as true and draw all reasonable inferences in favor of the plaintiff.

 Phillips v. Cty. Of Allegheny, 515 F.3d 224, 231 (3d. Cir. 2008). A court, however, is “not

 compelled to accept unwarranted inferences, unsupported conclusions or legal conclusions

 disguised as factual allegations.” Baraka v. McGreevey, 481 F.3d 187, 211 (3d Cir. 2007). If,

 after viewing the allegations in the complaint most favorable to the plaintiff, it appears that no

 relief could be granted under any set of facts consistent with the allegations, a court may dismiss




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 the complaint for failure to state a claim. Defazio v. Leading Edge Recoeeiy So/s., 2010 WL

 5146765, at *1 (D.N.J. Dec. 13, 2010).

 III.   LEGAL ANALYSIS

        Defendant argues that the Complaint should be dismissed for several reasons.        First,

 Defendant argues that the Complaint does not plead a plausible claim under RESPA. Def. Brf. at

 4-8. In support, Defendant claims that it is not a servicer under RESPA and that Plaintiff has no

 legal cause of action to challenge Defendant’s denial of his Application for mortgage assistance.

Id. Second, Defendant argues that the Complaint does not plead a plausible claim under NJCFA

 because it does not allege that Defendant made actionable misrepresentations or omissions. Id. at

 8-11. Third, Defendant argues that the Complaint’s breach of the covenant of good faith and fair

 dealing claim is “baseless” because the Complaint does not identify a contract that Defendant

 breached. Id. at 11-12. Finally, Defendant argues that New Jersey’s entire controversy doctrine

 bars the Complaint. Id. at 13-15.

        a. RESPA (Count I)

        Congress enacted RESPA in 1974. Freeman v. Quicken Loans, Inc., 566 U.S. 624, 626

 (2012). Congress then “charged the Department of Housing and Urban Development (“HUD”)

with the administration and enforcement of RESPA.” A/ston v. Countrywide Fin. Corp., 585 F.3d

 753, 756 (3d Cir. 2009) (citing 12 U.S.C.   § 2607(d)(4), 2617). To that end, Congress allowed
HUD to “prescribe such rules and regulations, to make such interpretations, and to grant such

reasonable exemptions for classes of transactions, as may be necessary to achieve the purposes of

 [RESPA].” 12 U.S.C.     § 2617. “HUD’s regulations—compiled in the somewhat mysteriously
titled “Regulation X”—are set forth at 24 C.F.R. Pt. 3500.” Aiston, 585 F.3d at 756.




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        RESPA requires a “servicer” of any “federally related mortgage loan” to notify a borrower

 “in writing of any assignment, sale, or transfer of the servicing of the loan[.]” 12 U.S.C.                §
 2605(b)(1).   Under RESPA, a “servicer” is “the person responsible for servicing of a loan

 (including the person who makes or holds the loan if such person also services the loan).” Id.             §
 2605(i)(2). “[T]he term ‘servicing’ means receiving any scheduled periodic payments from a

 borrower pursuant to the terms of any loan.        .   .   and making the payments of principal and interest

 and such other payments.   .   .   as maybe required pursuant to the terms of the loan.” Id.   § 2605(i)(3).
        Plaintiff asserts his RESPA claim pursuant to 12 C.F.R.                § 1024.41(b) (Loss mitigation
 procedures). Section 1024.41, in relevant part, provides:

                (a) Enforcement and limitations. A borrower may enforce the
                provisions of this section pursuant to section 6(f) of RESPA (12
                U.S.C. 2605(f)). Nothing in § 1024.41 imposes a duty on a servicer
                to provide any borrower with any specific loss mitigation option.
                Nothing in § 1024.41 should be construed to create a right for a
                borrower to enforce the terms of any agreement between a servicer
                and the owner or assignee of a mortgage loan, including with respect
                to the evaluation for, or offer of, any loss mitigation option or to
                eliminate any such right that may exist pursuant to applicable law.

                (b) Receipt of a loss mitigation application.

                       (1) Complete loss mitigation application. A complete
                       loss mitigation application means an application in
                       connection with which a servicer has received all the
                       information that the servicer requires from a
                       borrower in evaluating applications for the loss
                       mitigation options available to the borrower. A
                       servicer shall exercise reasonable diligence in
                       obtaining documents and information to complete a
                       loss mitigation application.

                       (2) Review of loss mitigation application submission.

                            (1) Requirements. If a servicer receives a loss
                            mitigation application 45 days or more before
                            a foreclosure sale, a servicer shall:



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                            (A) Promptly upon receipt of a loss
                            mitigation application, review the loss
                            mitigation application to determine if the loss
                            mitigation application is complete; and

                            (B) Notify the borrower in writing within 5
                            days (excluding legal public holidays,
                            Saturdays, and Sundays) after receiving the
                            loss mitigation application that the servicer
                            acknowledges receipt of the loss mitigation
                            application and that the servicer has
                            determined that the loss mitigation
                            application is either complete or incomplete.
                            If a loss mitigation application is incomplete,
                            the notice shall state the additional
                            documents and information the borrower
                            must submit to make the loss mitigation
                            application complete and the applicable date
                            pursuant to paragraph (b)(2)(ii) of this
                            section. The notice to the borrower shall
                            include a statement that the borrower should
                            consider contacting servicers of any other
                            mortgage loans secured by the same property
                            to discuss available loss mitigation options.

 12 C.F.R.   § l024.41(a)-(b).
          Defendant argues that because the New Jersey Superior Court issued a final judgment of

 foreclosure, Plaintiff no longer has a valid mortgage. “[A] prerequisite for RESPA to apply is an

 existing mortgage.” Kajia v. US. Bank Nat’!. Ass ‘n, No. 17-8953, 2018 WL 1128498, slip op. at

 *7 (D.N.J. Mar. 1, 201$). See also 12 C.F.R.     § 1024.30(a) (stating that the regulations apply to
 “any mortgage loan” unless an exception applies). New Jersey courts have ruled that it is a “well-

 settled principle that a mortgage merges into the judgment of foreclosure.” Virginia Beach Fed.

 V.   Bank ofNew York, 299 N.J. Super. 181, 18$ (App. Div. 199$). Thus, under New Jersey law, a

 mortgage no longer exists once a court orders a final judgment of foreclosure.

          Courts in this District have split on whether a final judgment of foreclosure extinguishes a

 mortgage for RESPA purposes. Compare Perez v. Seterzts, Inc., No. CV 17-5862, 2017 WL


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 5513687, at *4 (D.N.J. Nov. 16, 2017) (finding that because the borrower’s qualified written

 request came after a judgment of foreclosure was entered, the loan servicer “had no obligation to

 respond, because the mortgage loan was extinguished”) and Genid v. fed. Nat ‘1 liortg. Ass ‘ii, No.

 15-CV-06787, 2016 WL 4150455. at *3 (D.N.J. Aug. 2, 2016) (holding that following the “final

 judgernent of foreclosure,” the plaintiffs no longer owned the property and so the loan servicer

 could not be their servicer) with Mannarino v. Ocwen Loan Serv., LLC., No. 17-CV-2564, 2018

 WL 1526558, slip op. at *5 (Mar. 28, 2018) (distinguishing Genid because there “the claims

 occurred subsequent to judgment and subsequent to the foreclosure sale; here the events occurred

 after judgment, but before the foreclosure sale.”). While Perez and Genid held that a final

 judgment of foreclosure extinguishes a mortgage, those cases did not expressly analyze the issue

 present here, that is the effect of RESPA when a final judgment has been entered but a foreclosure

 sale had not occurred. Only Judge Sheridan in Mannarino explicitly addressed the difference

 between a claim occurring post judgement but pre-sale. In Mannarino, the court concluded that

 the requirements of RESPA could still be enforced during that period.

         12 C.F.R.   § 1024.41, the loss mitigation procedure section, appears to distinguish between
 a final judgment and a foreclosure sale. See, e.g., 12 C.F.R.   § 1024.41(g) (stating that under certain
 circumstances “a servicer shall not move for foreclosure judgment or order ofsale, or conduct a

 foreclosure sale.   .   .“)   (emphasis added); see also Bennett v. Bank ofAm., N.A., 126 F. Supp. 3d

 871, 876 (E.D. Ky. 2015) (finding that the plaintiffs stated a plausible claim under Section 1024.41

 when the issue arose after the “state court ordered the property foreclosed and issued an order of

 sale” but before the sale took place).

        Moreover, the relevant RESPA regulations contain a preemption provision. 12 C.F.R.              §
 1024.5(c)(1), in relevant part, reads: “[s]tate laws that are inconsistent with RESPA or this part are



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 preempted to the extent of the inconsistency.” Cf 12 U.S.C. 2605(h) (addressing RESPA’s

 statutory preemption provision). Thus, the Court concludes that New Jersey law could arguably

 be preempted. The parties, however, did not raise the issue of preemption, and the Court declines

 to decide the issue sua sponte. Instead, for purposes of this motion only, the Court will assume

 that RESPA, 12 C.F.R.    § 1024.41, applies here, meaning that RESPA’s loss mitigation procedures
 apply after a New Jersey court has entered a final judgment of foreclosure but before a foreclosure

 sale has taken place.

        The issue, therefore, becomes whether Plaintiff has plausibly pled a violation of Section

 1024.41. The Court finds that he has not done so. The facts alleged do not state a plausible claim

 for a violation of any section of 1024.41. To begin, Section 1024.41(a) provides for the

 enforcement of, and limitations on, a borrower’s rights under RESPA as they relate to loss

 mitigation procedures. In particular, this section states that “[nJothing in   § 1024.41 imposes a duty
 on a servicer to provide any borrower with any specific loss mitigation option.” 12 C.F.R.            §
 1024.41(a). Thus, it is clear that a servicer does not have to provide a borrower with any, much

 less a particular, loan mitigation option. Instead, Section 1024.41 appears to govern the process

 that a servicer must follow if it offers a loan modification program.

        Looking to the sections that follow, it appears that Section 1024.41 provides a borrower

 more with a right to process, rather than a right to any specific outcome. Subsection (b), for

 example, provides what a servicer must do upon receipt of a loss mitigation application. It requires

 that a servicer “exercise reasonable diligence in obtaining documents and information to complete

 a loss mitigation application” so that the servicer can evaluate a complete loss mitigation

 application. Id.   § l024.41(b)(1). Here, the factual allegations in the Complaint show that
 Defendant reviewed Plaintiffs Application and responded, asking Plaintiff multiple times for



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 further information, before evaluating the Application. See Compl.        ¶J 20-25. Therefore, the
 Complaint does not allege a plausible violation of Section 1024.41(b).5

        Turning next to 1024.4 1(c),6 the regulations provide what a servicer must do in evaluating

 a loss mitigation application. Relevant here, the subsection requires a servicer to “[e]valuate the

 borrower for all loss mitigation options available to the borrower;” and inform “the borrower with

 a notice in writing stating the servicer’s determination of which loss mitigation options, if any, it

 will offer to the borrower[.]” 12 C.F.R.   § 1024.41(c). Further, the servicer must, if applicable,
 notify the borrower of his “right to appeal the denial of any loan modification option[.]” Id. Thus,

 a servicer does not need to offer a borrower any loan modification option.       But it does need to

 evaluate the borrower for relevant loan modification options, and inform him in writing of whether

 he qualifies for any such option and if not, why.

        The Eastern District of Kentucky addressed Section 1024.41(c) in Bennett. There, the court

 addressed whether a servicer had violated subsection (c) when it reviewed and approved the

 borrowers for two loan modification options, but only notified the borrowers of one option. 126 F.

 Supp. 3d 871, 883-884 (E.D. Ky. 2015). The Bennett court concluded that the borrowers had pled

 a plausible violation of Section 1024.41(c). Id. at 884. The court first acknowledged that a servicer

 does not have to offer a borrower any specific loan modification option. Id. However, the court

 in Bennett went on to hold that subsection (c) imposes a “duty on a servicer to notify a borrower



  Section 1024.41(b)(2) provides further requirements for a servicer’s review of a loss mitigation
 application submission. This section does not appear relevant in light of the parties’ arguments.
 6
   The Court notes that Plaintiff probably should have asserted his RESPA claim under Section
 1024.4 1(c) but did not do so. Nevertheless, the Court will analyze this section for a possible
 plausible cause of action. Johnson v. City ofShelby, Miss.,      U.S.        ,135 S.Ct. 346, 346
 (2014) (“Federal pleading rules.. do not countenance dismissal of a complaint for imperfect
                                     .



 statement of the legal theory supporting the claim asserted.”).


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 of all loss mitigation offers.” Id. As a result, the court concluded, that the borrowers had pled a

 plausible cause of action because the servicer failed to notify the borrowers of one of the loss

 mitigation options. Id.

        Here, by comparison, Plaintiff does not allege that he was eligible for another loss

 mitigation option of which Defendants failed to apprise him. The Complaint alleges that after

 receiving Plaintiffs complete Application, Defendants sent Plaintiff a denial letter that indicated

 the loss mitigation option Plaintiff had been considered for (the Proprietary Step Rate Program),

 the reason Plaintiff did not qualify for it (inadequate gross monthly income), and informed Plaintiff

 of his right to appeal this decision. Thus, Defendant told Plaintiff of the relevant modification

 option, but also explained why he did not qualify for it. Further, while Plaintiff argues that

 Defendant should have relied on the monthly gross income stated in his Application, rather than

 relying on the 2015 IRS Schedule C Income, this disagreement is not actionable. Plaintiff cites to

 no authority, nor could the Court find any, indicating that a loan servicer must credit certain

 information offered by the borrower.7 Therefore, the Complaint does not allege a plausible

 violation of Section 1024.41(c).8

        The Complaint also fails to state a plausible claim under Section 1024.41(d) for the same

 reasons provided above. Subsection (d) requires a servicer to provide a borrower with the reason(s)

 why he was not offered a loan modification option. As discussed above, Defendant told Plaintiff




  To the extent Plaintiff is correct that Section 1024.41(c) required Defendants to credit his
 monthly income amount ($10,511 rather than $6,874), the error would not be actionable because
 Plaintiff was able to raise the issue on appeal, and Defendants nevertheless found that he did not
 qualify for their loan modification program.
 8
  The other parts of 1024.41(c) do not appear relevant to this matter. Plaintiff has not alleged that
 Defendant considered an incomplete Application or that Defendant required information not in
 Plaintiffs control to consider a complete application. See 12 C.F.R. § 1024.4 l(c)(4)(i).
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 in the denial letter that his income was inadequate for the Proprietary Step Program. Consequently,

 the Complaint does not allege a plausible violation of Section 1024.41(d).

        Finally, Section 1024.41(h) governs the appeals process for loan modification denials.

 Subsection (h), in relevant part, requires a servicer within thirty days of receiving a borrower’s

 appeal to “provide a notice to the borrower stating the servicer’s determination of whether the

 servicer will offer the borrower a loss mitigation option based upon the appeal[.]” 12 C.F.R.     §
 1024.41(h)(4). Here, Plaintiff appealed Defendant’s modification denial. His stated reason for

 appealing was that Defendant, in error, calculated his monthly income as $6,874, rather than the

 correct amount of $10,511. Less than thirty days later, Defendant sent a reply letter, which

 provided: “[a]fier carefully reviewing the information we currently have, we have determined that

 you still do not meet the requirements for a loan modification.” Therefore, Plaintiff was able to

 exercise his right to appeal and Defendant, subsequently, provided him with a timely determination

 of that appeal. In addition, Plaintiff makes no plausible allegation that the higher monthly amount,

 $10,511, resulted in his being qualified for Defendants’ loan modification program. Therefore,

 Plaintiff does not allege a violation of Section 1024.41(h).

        Plaintiff also sent Defendant a series of Notices of Error (“NOE”). In the first NOE,

 Plaintiff reasserted why he believed that Defendant miscalculated his monthly gross income.

 Defendant responded in a thorough letter. Plaintiffs subsequent NOEs essentially repeated the

 content of the first NOE, with some additional detail. Section 1024.41(1) covers duplicative

 requests. It provides that “[a] servicer must comply with the requirements of this section for a

 borrower’s loss mitigation application, unless the servicer has previously complied with the

 requirements of this section for a complete loss mitigation application submitted by the borrower

 and the borrower has been delinquent at all times since submitting the prior complete application.”



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 12 C.F.R.   § 1024.41(i). Plaintiffs NOEs were essentially duplicative of his appeal that had already
 been denied.

         Afier reviewing all of the Complaint’s factual allegations and all relevant sections of

 1024.41, the Court finds that Plaintiff does not plausibly allege a RESPA violation. Section

 1024.41 regulates a servicer’s duty to evaluate a borrower’s complete application for loss

 mitigation options. The regulations require thoroughness and communication. They do not require

 a servicer to offer a loan modification option or to “consider” any of the borrower’s representations

 as determinative. This case is not like Bennett, in which a borrower was qualified and approved

 for a loan modification option that was then not offered to him. Defendant found that Plaintiff was

 not qualified for a loan modification, even after considering Plaintiffs appeal, which contained

 the higher monthly gross income amount. Further, Plaintiff has provided no plausible allegation

 that a monthly gross income of S 10,511 qualified him for Defendants’ loan modification option.

 Therefore, the Court finds that the Complaint does not plausibly allege a violation under RESPA,

 12 C.F.R.   § 1024.41. Count One is, therefore, dismissed with prejudice.
         b. The New Jersey Consumer Fraud Act & Breach of the Duty of Good Faith
            and Fair Dealing (Counts II & III)

         In cases involving both federal and state claims, district courts have supplemental

 jurisdiction, also referred to as pendent jurisdiction, over the state claims when “they are so related

 to [the federal] claims   .   .   .   that they form part of the same case or controversy under Article III of

 the United States Constitution.” 28 U.S.C.               § 1367. Indeed, the state and federal claims must
 “derive from a common nucleus of operative facts.” United Mine Workers of America v. Gibbs,

 383 U.S. 715, 725 (1966). Nevertheless, pendent jurisdiction “power need not be exercised in

 every case in which it is found to exist.                It has consistently been recognized that pendent

 jurisdiction is a doctrine of discretion, not of plaintiffs right.” Id. at 726. Moreover, the Supreme
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 Court has been clear that when ‘judicial economy, convenience, and fairness to litigants” are not

 forwarded by the exercise of supplemental jurisdiction, “a federal court should hesitate to exercise

 jurisdiction over state claims.” Id; see 28 U.S.C.   § 1367(c)(3). Indeed, the Court has directly held
 that “if the federal claims are dismissed before trial, even though not insubstantial in a

 jurisdictional sense, the state claims should be dismissed as well.”        United Mine Workers of

 America, 383 U.S. at 726.

         Here, the Court is dismissing Plaintiffs only federal claim, RESPA (Count I).             The

 remaining counts, violation of NJCFA (Count II) and breach of the duty of good faith and fair

 dealing (Count III) are state law claims. The Court, therefore, declines to exercise jurisdiction

 over the remaining claims. Consequently, Counts IT and III are dismissed without prejudice.9

 IV.    CONCLUSION

        For the reasons set forth above, Defendant’s motion to dismiss (D.E. 7) is GRANTED.

 Plaintiffs federal claim (Count I)is dismissed with prejudice. Plaintiffs state law claims (Counts

 TI and III) are dismissed without prejudice and may be reasserted in state court in accordance with

 28 U.S.C.   § 1367(d). An appropriate Order accompanies this Opinion.
 Dated: June 28, 2018

                                                        cD\ kO Q\1ç1
                                                         John Michael Vazquez,6.SUj.
                                                                                      ,/




  Because the Court is dismissing Plaintiffs state law claims without prejudice, it does not reach
 Defendants’ entire controversy doctrine argument.

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